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                United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois  60604

                                  September 28, 2018

                                         Before

                             Diane P. Wood, Chief Judge
                           Michael B. Brennan, Circuit Judge
                           Michael Y. Scudder, Circuit Judge


MICHAEL W. OʹCONNOR,                              ] Appeal from the United
        Petitioner,                               ] States District Court for
                                                  ] the Northern District of
No. 18‐2613                v.                     ] Illinois, Eastern Division.
                                                  ] 
THOMAS J. DART,                                   ] No. 1:15‐cv‐06494
        Respondent‐Appellee.                      ] 
                                                  ] Sharon Johnson Coleman,
APPEAL OF: VALENTINA L. OʹCONNOR,                 ]      Judge.
Mother and Legal Guardian for                     ] 
Michael W. OʹConnor                               ] 

                                       O R D E R

      On consideration of the papers filed in this appeal and review of the short record,

      IT IS ORDERED that this appeal is DISMISSED for lack of jurisdiction.

         Rule 4(a) of the Federal Rules of Appellate Procedure requires that a notice of
appeal in a civil case be filed in the district court within 30 days of the entry of the
judgment or order appealed.  In this case the order dismissing this habeas case without
prejudice was entered on May 19, 2017, and the notice of appeal was filed on July 20,
2018, over one year late.  The district court has not granted an extension of the appeal
period, see Rule 4(a)(5), and this court is not empowered to do so, see Fed. R. App. P.
26(b).  
